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                                                EEE-FFF Page 32 of 5145
 Fill in this information to identify your case:

 Debtor 1                   Robin DiMaggio
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:17-12434-MT
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              37,400.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $              37,400.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $                      0.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $          1,530,694.00


                                                                                                                                     Your total liabilities $               1,530,694.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                      0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 8,131.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
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                                                                                                                                                                             EX. EEE - 002
          Case
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 Debtor 1      Robin DiMaggio                                                             Case number (if known) 1:17-12434-MT

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $             0.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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                                                                                                                                    EX. EEE - 003
             Case
              Case1:17-ap-01099-VK
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                                               EEE-FFF Page 54 of 5145
 Fill in this information to identify your case and this filing:

 Debtor 1                 Robin DiMaggio
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:17-12434-MT                                                                                                                   Check if this is an
                                                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1      Make:       Toyota                                                                                                 Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:      Tundra                                   Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:       2017                                     Debtor 2 only                                                Current value of the      Current value of the
           Approximate mileage:                 10000           Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
           Other information:                                   At least one of the debtors and another
          Auto Lease
                                                                Check if this is community property                                  $20,000.00                 $20,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $20,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
     No
Official Form 106A/B                                           Schedule A/B: Property                                                                                     page 1
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 Debtor 1       Robin DiMaggio                                                                      Case number (if known)     1:17-12434-MT

     Yes.     Describe.....

                                    Furniture                                                                                                      $700.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Electronics                                                                                                    $800.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Clothing                                                                                                       $700.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    Jewelry                                                                                                      $1,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $3,700.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
Official Form 106A/B                                                 Schedule A/B: Property                                                          page 2
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 Debtor 1          Robin DiMaggio                                                                                                  Case number (if known)   1:17-12434-MT
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                      Cash                                 $1,200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Checking                               Citibank                                                                $10,000.00



                                              17.2.       Checking                               WellsFargo                                                                $2,500.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                              % of ownership:

                                                  DiMaggio International, Inc.
                                                  In chapter 7                                                                           100          %                          $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
Official Form 106A/B                                                                     Schedule A/B: Property                                                                  page 3
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 Debtor 1       Robin DiMaggio                                                                         Case number (if known)   1:17-12434-MT

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                        Beneficiary:                           Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 4
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 Debtor 1         Robin DiMaggio                                                                                                        Case number (if known)   1:17-12434-MT

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $13,700.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                           $20,000.00
 57. Part 3: Total personal and household items, line 15                                                       $3,700.00
 58. Part 4: Total financial assets, line 36                                                                  $13,700.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $37,400.00              Copy personal property total           $37,400.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $37,400.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 5
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                                                                   of 45
                                                                      51
 Fill in this information to identify your case:

 Debtor 1                Robin DiMaggio
                         First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:17-12434-MT
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      Furniture                                                                                                                  C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 6.1
                                                                          $700.00                                   $700.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      Electronics                                                                                                                C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 7.1
                                                                          $800.00                                   $800.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      Clothing                                                                                                                   C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 11.1
                                                                          $700.00                                   $700.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      Jewelry                                                                                                                    C.C.P. § 703.140(b)(4)
      Line from Schedule A/B: 12.1
                                                                      $1,500.00                                   $1,500.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      Cash                                                                                                                       C.C.P. § 703.140(b)(5)
      Line from Schedule A/B: 16.1
                                                                      $1,200.00                                   $1,200.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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            Case
             Case1:17-ap-01099-VK
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 Debtor 1    Robin DiMaggio                                                                              Case number (if known)     1:17-12434-MT
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking: Citibank                                                                                                           C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.1
                                                                     $10,000.00                               $10,000.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: WellsFargo                                                                                                         C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.2
                                                                      $2,500.00                                 $2,500.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                                                                                                                                       EX. EEE - 010
              Case
               Case1:17-ap-01099-VK
                     1:17-bk-12434-MT Doc
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                                                                                            Desc
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                                       Exhibit
                                            Document
                                               EEE-FFF Page 12  11 of 51
                                                                      45
 Fill in this information to identify your case:

 Debtor 1                Robin DiMaggio
                         First Name                         Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name           Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:17-12434-MT
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?

       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 1
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                                                                                                                                                EX. EEE - 011
              Case
               Case1:17-ap-01099-VK
                     1:17-bk-12434-MT Doc
                                       Doc50-1
                                           9 Filed
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                                                       07/23/18 Entered
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                                                                                            Desc
                                       Main
                                       Exhibit
                                            Document
                                               EEE-FFF Page 13  12 of 51
                                                                      45
 Fill in this information to identify your case:

 Debtor 1                  Robin DiMaggio
                           First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                       Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:17-12434-MT
 (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

        No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          AFM Local 47                                            Last 4 digits of account number         3073                                                      $24,150.00
              Nonpriority Creditor's Name
              817 Vine Street                                         When was the debt incurred?             12/2015
              Los Angeles, CA 90038
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                          Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

               No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                    Other. Specify     Union Dues




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 9
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                                                                                                                                                                     EX. EEE - 012
          Case
           Case1:17-ap-01099-VK
                 1:17-bk-12434-MT Doc
                                   Doc50-1
                                       9 Filed
                                             Filed09/25/17
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                                        Document
                                           EEE-FFF Page 14  13 of 51
                                                                  45
 Debtor 1 Robin DiMaggio                                                                                  Case number (if know)        1:17-12434-MT

 4.2      American Express                                           Last 4 digits of account number       1004                                          $22,000.00
          Nonpriority Creditor's Name
          200 Vesey Street                                           When was the debt incurred?           2017
          New York, NY 10285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.3      Barclays                                                   Last 4 digits of account number       9683                                          $11,500.00
          Nonpriority Creditor's Name
          PO Box 8801                                                When was the debt incurred?           2017
          Wilmington, DE 19899-8801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.4      Barclays                                                   Last 4 digits of account number       1872                                          $11,590.00
          Nonpriority Creditor's Name
          PO Box 8801                                                When was the debt incurred?           2017
          Wilmington, DE 19899-8801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 9
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                                                                                                                                                       EX. EEE - 013
          Case
           Case1:17-ap-01099-VK
                 1:17-bk-12434-MT Doc
                                   Doc50-1
                                       9 Filed
                                             Filed09/25/17
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                                        Document
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                                                                  45
 Debtor 1 Robin DiMaggio                                                                                  Case number (if know)        1:17-12434-MT

 4.5      Citibank                                                   Last 4 digits of account number       7352                                          $26,000.00
          Nonpriority Creditor's Name
          PO Box 6000                                                When was the debt incurred?           2017
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.6      Citibank                                                   Last 4 digits of account number       7682                                          $11,000.00
          Nonpriority Creditor's Name
          PO Box 6000                                                When was the debt incurred?           2017
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.7      Citibank                                                   Last 4 digits of account number       0673                                          $15,000.00
          Nonpriority Creditor's Name
          PO Box 6000                                                When was the debt incurred?           2017
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 9
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                                                                                                                                                       EX. EEE - 014
          Case
           Case1:17-ap-01099-VK
                 1:17-bk-12434-MT Doc
                                   Doc50-1
                                       9 Filed
                                             Filed09/25/17
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                                                                  45
 Debtor 1 Robin DiMaggio                                                                                  Case number (if know)        1:17-12434-MT

 4.8      Citibank                                                   Last 4 digits of account number       4419                                            $7,000.00
          Nonpriority Creditor's Name
          PO Box 6000                                                When was the debt incurred?           2017
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.9      Citibank                                                   Last 4 digits of account number       8943                                          $21,000.00
          Nonpriority Creditor's Name
          PO Box 6000                                                When was the debt incurred?           2017
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.1
 0        Citibank                                                   Last 4 digits of account number       9497                                          $12,000.00
          Nonpriority Creditor's Name
          PO Box 6000                                                When was the debt incurred?           2017
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 9
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          Case
           Case1:17-ap-01099-VK
                 1:17-bk-12434-MT Doc
                                   Doc50-1
                                       9 Filed
                                             Filed09/25/17
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                                                                  45
 Debtor 1 Robin DiMaggio                                                                                  Case number (if know)        1:17-12434-MT

 4.1
 1        Citibank                                                   Last 4 digits of account number       2756                                          $10,000.00
          Nonpriority Creditor's Name
          PO Box 6000                                                When was the debt incurred?           2017
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.1
 2        Discover Financial Services                                Last 4 digits of account number       5237                                            $4,500.00
          Nonpriority Creditor's Name
          P.O. Box 30943                                             When was the debt incurred?           2017
          Salt Lake City, UT 84130-0943
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.1
 3        Forum Entertainment Group, Inc.                            Last 4 digits of account number       0593                                          $20,000.00
          Nonpriority Creditor's Name
          clo Shah Sheth, LLP                                        When was the debt incurred?           06/2012
          650 Town Center Drive, Suite 1400
          Costa Mesa, CA 92626
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Breach of Contract Claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 9
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                                                                                                                                                       EX. EEE - 016
          Case
           Case1:17-ap-01099-VK
                 1:17-bk-12434-MT Doc
                                   Doc50-1
                                       9 Filed
                                             Filed09/25/17
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                                                                  45
 Debtor 1 Robin DiMaggio                                                                                  Case number (if know)        1:17-12434-MT

 4.1
 4        Krasimir Dachev                                            Last 4 digits of account number       5027                                        $1,000,000.00
          Nonpriority Creditor's Name
          Steinbrecher & Spann, LLP                                  When was the debt incurred?           05/2016
          445 South Figueroa Street, #2350
          Los Angeles, CA 90071
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
                                                                      Student loans
           Check if this claim is for a community
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Breach of Contract Claim


 4.1
 5        Law Offices of Arthur H. Barens                            Last 4 digits of account number       2081                                            $4,000.00
          Nonpriority Creditor's Name
          10209 Santa Monica Boulevard                               When was the debt incurred?           2017
          Los Angeles, CA 90067
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Legal Services


 4.1
 6        Myron Natwick                                              Last 4 digits of account number       5001                                         $300,000.00
          Nonpriority Creditor's Name
          c/o HFL Law Group, APC                                     When was the debt incurred?           10/2012
          16633 Ventura Boulevard, Suite
          1425
          Encino, CA 91436
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
                                                                      Student loans
           Check if this claim is for a community
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Breach of contract Claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 9
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                                                                                                                                                       EX. EEE - 017
          Case
           Case1:17-ap-01099-VK
                 1:17-bk-12434-MT Doc
                                   Doc50-1
                                       9 Filed
                                             Filed09/25/17
                                                   07/23/18 Entered
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                                                                  45
 Debtor 1 Robin DiMaggio                                                                                  Case number (if know)        1:17-12434-MT

 4.1
 7        Synchrony Capital Bank                                     Last 4 digits of account number       7297                                            $1,682.00
          Nonpriority Creditor's Name
          PO BOX 965015                                              When was the debt incurred?           08/2014
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.1
 8        The Home Depot/CBNA                                        Last 4 digits of account number       4920                                              $272.00
          Nonpriority Creditor's Name
          PO Box 20483                                               When was the debt incurred?           09/2014
          Kansas City, MO 64915
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account


 4.1
 9        US Bank, NA                                                Last 4 digits of account number       5433                                            $9,000.00
          Nonpriority Creditor's Name
          Bankruptcy/Recovery Dept                                   When was the debt incurred?           05/2016
          PO Box 5229
          Cincinnati, OH 45201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Revolving Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 9
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                                                                                                                                                       EX. EEE - 018
           Case
            Case1:17-ap-01099-VK
                  1:17-bk-12434-MT Doc
                                    Doc50-1
                                        9 Filed
                                              Filed09/25/17
                                                    07/23/18 Entered
                                                              Entered09/25/17
                                                                      07/23/1821:02:28
                                                                               17:02:08 Desc
                                                                                         Desc
                                    Main
                                    Exhibit
                                         Document
                                            EEE-FFF Page 20  19 of 51
                                                                   45
 Debtor 1 Robin DiMaggio                                                                                  Case number (if know)        1:17-12434-MT

 4.2
 0         US Bank, NA                                               Last 4 digits of account number       2234                                                 $12,000.00
           Nonpriority Creditor's Name
           Bankruptcy/Recovery Dept                                  When was the debt incurred?           2017
           PO Box 5229
           Cincinnati, OH 45201
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Revolving Account


 4.2
 1         Wells Fargo                                               Last 4 digits of account number       6016                                                   $8,000.00
           Nonpriority Creditor's Name
           Bankruptcy Department                                     When was the debt incurred?           2017
           P. 0. Box 3908
           Portland, OR 97208-3908
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Revolving Account

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank                                                      Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 701 E. 60th Street N                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 6034
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Manoj N. Shah                                                 Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 The Fashion Law Group, PC                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 610 South Main Street, Suite 220
 Los Angeles, CA 90014
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Peace for You Peace for Me                                    Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Steinbrecher & Spann, LLP                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 445 South Figueroa Street, #2350
 Los Angeles, CA 90071
                                                               Last 4 digits of account number


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 8 of 9
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                                                                                                                                                              EX. EEE - 019
           Case
            Case1:17-ap-01099-VK
                  1:17-bk-12434-MT Doc
                                    Doc50-1
                                        9 Filed
                                              Filed09/25/17
                                                    07/23/18 Entered
                                                              Entered09/25/17
                                                                      07/23/1821:02:28
                                                                               17:02:08 Desc
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                                    Main
                                    Exhibit
                                         Document
                                            EEE-FFF Page 21  20 of 51
                                                                   45
 Debtor 1 Robin DiMaggio                                                                                   Case number (if know)        1:17-12434-MT

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Svilosa AD                                                    Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Steinbrecher & Spann, LLP                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 445 South Figueroa Street, #2350
 Los Angeles, CA 90071
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Home Depot                                                Line 4.18 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 6497                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                         0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                         0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $              1,530,694.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $              1,530,694.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 9 of 9
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                                                                                                                                                                EX. EEE - 020
              Case
               Case1:17-ap-01099-VK
                     1:17-bk-12434-MT Doc
                                       Doc50-1
                                           9 Filed
                                                 Filed09/25/17
                                                       07/23/18 Entered
                                                                 Entered09/25/17
                                                                         07/23/1821:02:28
                                                                                  17:02:08 Desc
                                                                                            Desc
                                       Main
                                       Exhibit
                                            Document
                                               EEE-FFF Page 22  21 of 51
                                                                      45
 Fill in this information to identify your case:

 Debtor 1                Robin DiMaggio
                         First Name                         Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:17-12434-MT
 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Toyota Motor Credit Co.                                                 Auto Lease
              225 W. Hillcrest Dr., #400
              Thousand Oaks, CA 91360




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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                                                                                                                                             EX. EEE - 021
              Case
               Case1:17-ap-01099-VK
                     1:17-bk-12434-MT Doc
                                       Doc50-1
                                           9 Filed
                                                 Filed09/25/17
                                                       07/23/18 Entered
                                                                 Entered09/25/17
                                                                         07/23/1821:02:28
                                                                                  17:02:08 Desc
                                                                                            Desc
                                       Main
                                       Exhibit
                                            Document
                                               EEE-FFF Page 23  22 of 51
                                                                      45
 Fill in this information to identify your case:

 Debtor 1                   Robin DiMaggio
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:17-12434-MT
 (if known)
                                                                                                                           Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         DiMaggio International, Inc.                                                        Schedule D, line
                5737 Kanan Road, #117                                                               Schedule E/F, line     4.13
                Agoura Hills, CA 91301
                                                                                                    Schedule G
                                                                                                   Forum Entertainment Group, Inc.



    3.2         DiMaggio International, Inc.                                                        Schedule D, line
                5737 Kanan Road, #117                                                               Schedule E/F, line     4.14
                Agoura Hills, CA 91301
                                                                                                    Schedule G
                                                                                                   Krasimir Dachev



    3.3         DiMaggio International, Inc.                                                        Schedule D, line
                5737 Kanan Road, #117                                                               Schedule E/F, line     4.16
                Agoura Hills, CA 91301
                                                                                                    Schedule G
                                                                                                   Myron Natwick




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 1
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                                                                                                                                      EX. EEE - 022
             Case
              Case1:17-ap-01099-VK
                    1:17-bk-12434-MT Doc
                                      Doc50-1
                                          9 Filed
                                                Filed09/25/17
                                                      07/23/18 Entered
                                                                Entered09/25/17
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                                                                                 17:02:08 Desc
                                                                                           Desc
                                      Main
                                      Exhibit
                                           Document
                                              EEE-FFF Page 24  23 of 51
                                                                     45


Fill in this information to identify your case:

Debtor 1                      Robin DiMaggio

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number               1:17-12434-MT                                                                  Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                             Occupation            Unemployed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                    page 1

                                                                                                                                          EX. EEE - 023
           Case
            Case1:17-ap-01099-VK
                  1:17-bk-12434-MT Doc
                                    Doc50-1
                                        9 Filed
                                              Filed09/25/17
                                                    07/23/18 Entered
                                                              Entered09/25/17
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                                                                               17:02:08 Desc
                                                                                         Desc
                                    Main
                                    Exhibit
                                         Document
                                            EEE-FFF Page 25  24 of 51
                                                                   45

Debtor 1    Robin DiMaggio                                                                        Case number (if known)    1:17-12434-MT


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
      5e.    Insurance                                                                     5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
      5g.    Union dues                                                                    5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
      8e. Social Security                                                                  8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $                 0.00 + $              N/A = $             0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $            0.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain: Debtor was recently diagnosed with cancer and is undergoing treatment.




Official Form 106I                                                     Schedule I: Your Income                                                       page 2

                                                                                                                                              EX. EEE - 024
       Case
        Case1:17-ap-01099-VK
              1:17-bk-12434-MT Doc
                                Doc50-1
                                    9 Filed
                                          Filed09/25/17
                                                07/23/18 Entered
                                                          Entered09/25/17
                                                                  07/23/1821:02:28
                                                                           17:02:08 Desc
                                                                                     Desc
                                Main
                                Exhibit
                                     Document
                                        EEE-FFF Page 26  25 of 51
                                                               45


Fill in this information to identify your case:

Debtor 1                Robin DiMaggio                                                                     Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

Case number           1:17-12434-MT
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                            Mother                                               Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,500.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1


                                                                                                                                               EX. EEE - 025
       Case
        Case1:17-ap-01099-VK
              1:17-bk-12434-MT Doc
                                Doc50-1
                                    9 Filed
                                          Filed09/25/17
                                                07/23/18 Entered
                                                          Entered09/25/17
                                                                  07/23/1821:02:28
                                                                           17:02:08 Desc
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                                Main
                                Exhibit
                                     Document
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Debtor 1     Robin DiMaggio                                                                            Case number (if known)      1:17-12434-MT

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                200.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                100.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                               300.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                20.00
10.   Personal care products and services                                                    10. $                                                 20.00
11.   Medical and dental expenses                                                            11. $                                              5,500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 230.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  100.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  111.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       8,131.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,131.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                   0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,131.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -8,131.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


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 Fill in this information to identify your case:

 Debtor 1                    Robin DiMaggio
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number              1:17-12434-MT
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Robin DiMaggio                                                        X
              Robin DiMaggio                                                            Signature of Debtor 2
              Signature of Debtor 1

              Date       September 24, 2017                                             Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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              Case
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 Fill in this information to identify your case:

 Debtor 1                  Robin DiMaggio
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:17-12434-MT
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

        Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                               $0.00        Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Robin DiMaggio                                                                              Case number (if known)   1:17-12434-MT


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                            Wages, commissions,                        $20,636.00          Wages, commissions,
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                        $12,312.00          Wages, commissions,
 (January 1 to December 31, 2015 )                 bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
       Yes. Fill in the details.
                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
       No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                      No.         Go to line 7.
                      Yes       List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.       Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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           Case
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 Debtor 1      Robin DiMaggio                                                                              Case number (if known)    1:17-12434-MT


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Forum Entertainment Group,                               Civil                       Los Angeles Superior Court                  Pending
       Inc. v. DiMaggio International,                                                                                                On appeal
       Inc.
                                                                                                                                      Concluded
       BC520593

       Natwick v. Kelley                                        Civil                       Los Angeles Superior Court                  Pending
       BC615001                                                                                                                       On appeal
                                                                                                                                      Concluded

       DiMaggio Interenational, Inc.                            Civil                       Los Angeles Superior Court                  Pending
       v. Paece For You Me (and                                                                                                       On appeal
       related cross complaint)
                                                                                                                                      Concluded
       LC104988


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken


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           Case
            Case1:17-ap-01099-VK
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 Debtor 1      Robin DiMaggio                                                                              Case number (if known)    1:17-12434-MT


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
       Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Law Offices Of Moses S. Bardavid                              Attorney Fees                                            September 06,               $2,000.00
       16133 Ventura Boulevard                                                                                                2017
       7th Floor
       Encino, CA 91436
       mbardavid@hotmail.com




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 Debtor 1      Robin DiMaggio                                                                              Case number (if known)    1:17-12434-MT


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
       Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




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 Debtor 1      Robin DiMaggio                                                                                   Case number (if known)   1:17-12434-MT


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                               Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 6
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                                                                   45
 Debtor 1      Robin DiMaggio                                                                              Case number (if known)   1:17-12434-MT



       No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        DiMaggio International, Inc.                            Music Promotion                                  EIN:         XX-XXXXXXX
        5737 Kanan Road, #117
        Agoura Hills, CA 91301                                  Neil Financial Services                          From-To
                                                                23107 Saticoy Street
                                                                Canoga Park, CA 91304


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
       Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Robin DiMaggio
 Robin DiMaggio                                                          Signature of Debtor 2
 Signature of Debtor 1

 Date      September 24, 2017                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
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                                                                                                                                                    EX. EEE - 034
              Case
               Case1:17-ap-01099-VK
                     1:17-bk-12434-MT Doc
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                                               EEE-FFF Page 36  35 of 51
                                                                      45

 Fill in this information to identify your case:

 Debtor 1                Robin DiMaggio
                         First Name                         Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name               Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           1:17-12434-MT
 (if known)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?

    Creditor's                                                             Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:

    Creditor's                                                             Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:

    Creditor's                                                             Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:

    Creditor's                                                             Surrender the property.                      No


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

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                                                                                                                                    EX. EEE - 035
           Case
            Case1:17-ap-01099-VK
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                                                                   45

 Debtor 1      Robin DiMaggio                                                                        Case number (if known)    1:17-12434-MT

     name:                                                                Retain the property and redeem it.                      Yes
                                                                          Retain the property and enter into a
     Description of                                                          Reaffirmation Agreement.
     property                                                             Retain the property and [explain]:
     securing debt:



 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Robin DiMaggio                                                           X
       Robin DiMaggio                                                                   Signature of Debtor 2
       Signature of Debtor 1

       Date        September 24, 2017                                               Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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             Case
              Case1:17-ap-01099-VK
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                                              EEE-FFF Page 38  37 of 51
                                                                     45
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Central District of California
 In re       Robin DiMaggio                                                                                   Case No.      1:17-12434-MT
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                  2,000.00
              Prior to the filing of this statement I have received                                       $                  2,000.00
              Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 24, 2017                                                           /s/ Moses S. Bardavid
     Date                                                                         Moses S. Bardavid
                                                                                  Signature of Attorney
                                                                                  Law Offices Of Moses S. Bardavid
                                                                                  16133 Ventura Boulevard
                                                                                  7th Floor
                                                                                  Encino, CA 91436
                                                                                  (818) 377-7454 Fax: (818) 377-7455
                                                                                  mbardavid@hotmail.com
                                                                                  Name of law firm




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              Case
               Case1:17-ap-01099-VK
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                                                                      45

 Fill in this information to identify your case:                                                    Check one box only as directed in this form and in Form
                                                                                                    122A-1Supp:
 Debtor 1              Robin DiMaggio
 Debtor 2                                                                                              1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Central District of California                     2. The calculation to determine if a presumption of abuse
                                                                                                             applies will be made under Chapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number           1:17-12434-MT
 (if known)                                                                                            3. The Means Test does not apply now because of
                                                                                                             qualified military service but it could apply later.
                                                                                                       Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                  living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                             0.00      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                             0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
     Gross receipts (before all deductions)                   $     0.00
        Ordinary and necessary operating expenses                         -$         0.00
        Net monthly income from a business, profession, or farm $                    0.00 Copy here -> $              0.00      $
  6. Net income from rental and other real property
                                                                                      Debtor 1
        Gross receipts (before all deductions)                             $         0.00
        Ordinary and necessary operating expenses                         -$         0.00
        Net monthly income from rental or other real property             $          0.00 Copy here -> $              0.00      $
                                                                                                       $              0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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                                                                                                                                                       EX. EEE - 038
            Case
             Case1:17-ap-01099-VK
                   1:17-bk-12434-MT Doc
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                                             EEE-FFF Page 40  39 of 51
                                                                    45
 Debtor 1     Robin DiMaggio                                                                          Case number (if known)   1:17-12434-MT


                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                                    $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                   0.00
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                      $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                    $                  0.00      $
                                                                                                  $                  0.00      $
                  Total amounts from separate pages, if any.                                  +   $                  0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $             0.00       +$                      =$               0.00

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $                0.00

              Multiply by 12 (the number of months in a year)                                                                                   x 12
       12b. The result is your annual income for this part of the form                                                               12b. $                 0.00

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                 CA

       Fill in the number of people in your household.                        2
       Fill in the median family income for your state and size of household.                                                        13.   $        70,245.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Robin DiMaggio
                Robin DiMaggio
                Signature of Debtor 1
        Date September 24, 2017
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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          Case
           Case1:17-ap-01099-VK
                 1:17-bk-12434-MT Doc
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                                           EEE-FFF Page 41  40 of 51
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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &                 FOR COURT USE ONLY
Email Address
Moses S. Bardavid
16133 Ventura Boulevard
7th Floor
Encino, CA 91436
(818) 377-7454 Fax: (818) 377-7455
200296
mbardavid@hotmail.com




     Individual appearing without attorney
     Attorney for Movant
                                                      UNITED STATES BANKRUPTCY COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA
In re:
                                                                                       CASE NO.:
              Robin DiMaggio
                                                                                       CHAPTER: 7

                                                                                              DECLARATION BY DEBTOR(S)
                                                                                         AS TO WHETHER INCOME WAS RECEIVED
                                                                                         FROM AN EMPLOYER WITHIN 60 DAYS OF
                                                                                                   THE PETITION DATE
                                                                                                [11 U.S.C. § 521(a)(1)(B)(iv)]
                                                                     Debtor(s).                                     [No hearing Required]

Debtor(s) provides the following declaration(s) as to whether income was received from an employer within 60 days of the
Debtor(s) filing this bankruptcy case (Petition Date), as required by 11 U.S.C. § 521(a)(1)(B)(iv):

Declaration of Debtor 1

1.       I am Debtor 1 in this case, and I declare under penalty of perjury that the following information is true and correct:

           During the 60-day period before the Petition Date (Check only ONE box below):

              I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, or other proof of
             employment income I received from my employer during this 60-day period. (If the Debtor’s social security
             number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
             number(s) before filing this declaration.)

              I was not paid by an employer because I was either self-employed only, or not employed.

Date:       September 24, 2017                              Robin DiMaggio                                              /s/ Robin DiMaggio
                                                            Printed name of Debtor 1                                    Signature of Debtor 1




                    This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                      Page 1                                         F 1002-1.EMP.INCOME.DEC
                                                                                                                                                         EX. EEE - 040
        Case
         Case1:17-ap-01099-VK
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                                 Exhibit
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                                         EEE-FFF Page 42  41 of 51
                                                                45

Declaration of Debtor 2 (Joint Debtor) (if applicable)


2.    I am Debtor 2 in this case, and I declare under penalty of perjury that the following information is true and correct:

         During the 60-day period before the Petition Date (Check only ONE box below):

            I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, or other proof of
           employment income I received from my employer during this 60-day period. (If the Debtor’s social security
           number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
           number(s) before filing this declaration.)

            I was not paid by an employer because I was either self-employed only, or not employed.

Date:
                                                         Printed name of Debtor 2                                    Signature of Debtor 2




                 This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                  Page 2                                          F 1002-1.EMP.INCOME.DEC
                                                                                                                                                      EX. EEE - 041
         Case
          Case1:17-ap-01099-VK
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                                          EEE-FFF Page 43  42 of 51
                                                                 45
Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
State Bar No. & Email Address
Moses S. Bardavid
16133 Ventura Boulevard
7th Floor
Encino, CA 91436
(818) 377-7454 Fax: (818) 377-7455
California State Bar Number: 200296
mbardavid@hotmail.com




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                  CASE NO.: 1:17-12434-MT
            Robin DiMaggio
                                                                                  CHAPTER: 7




                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 3 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: September 24, 2017                                                                 /s/ Robin DiMaggio
                                                                                         Siganture of Debtor 1

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: September 24, 2017                                                                 /s/ Moses S. Bardavid
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION

                                                                                                                                                      EX. EEE - 042
    Case
     Case1:17-ap-01099-VK
           1:17-bk-12434-MT Doc
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                          Robin DiMaggio
                          5737 Kanan Road, #117
                          Agoura Hills, CA 91301


                          Moses S. Bardavid
                          Law Offices Of Moses S. Bardavid
                          16133 Ventura Boulevard
                          7th Floor
                          Encino, CA 91436


                          AFM Local 47
                          817 Vine Street
                          Los Angeles, CA 90038


                          American Express
                          200 Vesey Street
                          New York, NY 10285


                          Barclays
                          PO Box 8801
                          Wilmington, DE 19899-8801


                          Citibank
                          PO Box 6000
                          Sioux Falls, SD 57117


                          Citibank
                          701 E. 60th Street N
                          PO Box 6034
                          Sioux Falls, SD 57117


                          DiMaggio International, Inc.
                          5737 Kanan Road, #117
                          Agoura Hills, CA 91301




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 Case1:17-ap-01099-VK
       1:17-bk-12434-MT Doc
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                         Exhibit
                              Document
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                                                        45


                      Discover Financial Services
                      P.O. Box 30943
                      Salt Lake City, UT 84130-0943


                      Forum Entertainment Group, Inc.
                      clo Shah Sheth, LLP
                      650 Town Center Drive, Suite 1400
                      Costa Mesa, CA 92626


                      Krasimir Dachev
                      Steinbrecher & Spann, LLP
                      445 South Figueroa Street, #2350
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                      10209 Santa Monica Boulevard
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                      c/o HFL Law Group, APC
                      16633 Ventura Boulevard, Suite 1425
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                      Peace for You Peace for Me
                      Steinbrecher & Spann, LLP
                      445 South Figueroa Street, #2350
                      Los Angeles, CA 90071


                      Svilosa AD
                      Steinbrecher & Spann, LLP
                      445 South Figueroa Street, #2350
                      Los Angeles, CA 90071




                                                                             EX. EEE - 044
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 Case1:17-ap-01099-VK
       1:17-bk-12434-MT Doc
                         Doc50-1
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                                                                    17:02:08 Desc
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                         Main
                         Exhibit
                              Document
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                      Synchrony Capital Bank
                      PO BOX 965015
                      Orlando, FL 32896


                      The Home Depot
                      PO Box 6497
                      Sioux Falls, SD 57117


                      The Home Depot/CBNA
                      PO Box 20483
                      Kansas City, MO 64915


                      Toyota Motor Credit Co.
                      225 W. Hillcrest Dr., #400
                      Thousand Oaks, CA 91360


                      US Bank, NA
                      Bankruptcy/Recovery Dept
                      PO Box 5229
                      Cincinnati, OH 45201


                      Wells Fargo
                      Bankruptcy Department
                      P. 0. Box 3908
                      Portland, OR 97208-3908




                                                                             EX. EEE - 045
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Date       Account                  Deposit         Note             Cite
01/05/15   Citi Checking 2498       $ 26,600.00     Deposit Teller   Ex. GGG at   003
01/05/15   Citi Savings Plus 2506   $       79.00   Deposit Teller   Ex. GGG at   009
01/05/15   Citi Savings Plus 2506   $ 30,000.00     Deposit Teller   Ex. GGG at   009
02/02/15   Citi Checking 2498       $   1,000.00    Deposit Teller   Ex. GGG at   011
02/11/15   Citi Checking 2498       $   3,500.00    Deposit Teller   Ex. GGG at   013
03/10/15   Citi Checking 2498       $       13.25   Deposit Teller   Ex. GGG at   020
03/23/15   Citi Checking 2498       $        7.42   Deposit Teller   Ex. GGG at   021
03/31/15   Citi Checking 2498       $   4,413.00    Deposit Teller   Ex. GGG at   022
04/02/15   Citi Checking 2498       $     200.00    Deposit Teller   Ex. GGG at   026
04/09/15   Citi Checking 2498       $   8,592.00    Deposit Teller   Ex. GGG at   027
04/13/15   Citi Checking 2498       $     900.00    Deposit Teller   Ex. GGG at   027
04/14/15   Citi Checking 2498       $     729.00    Deposit Teller   Ex. GGG at   028
04/15/15   Citi Checking 2498       $       19.00   Deposit Teller   Ex. GGG at   028
04/15/15   Citi Checking 2498       $   2,451.50    Deposit Teller   Ex. GGG at   028
04/27/15   Citi Checking 2498       $   7,654.16    Deposit Teller   Ex. GGG at   030
04/30/15   Citi Checking 2498       $   1,100.00    Deposit Teller   Ex. GGG at   030
05/26/15   Citi Checking 2498       $   3,299.00    Deposit Teller   Ex. GGG at   034
06/02/15   Citi Checking 2498       $     343.84    Deposit Teller   Ex. GGG at   037
06/08/15   Citi Checking 2498       $   1,120.00    Deposit Teller   Ex. GGG at   037
07/02/15   Citi Checking 2498       $   4,800.00    Deposit Teller   Ex. GGG at   041
07/06/15   Citi Savings Plus 2506   $   1,500.00    Deposit Teller   Ex. GGG at   043
07/21/15   Citi Checking 2498       $     454.44    Deposit Teller   Ex. GGG at   042
07/31/15   Citi Checking 2498       $       45.00   Deposit Teller   Ex. GGG at   043
07/31/15   Citi Checking 2498       $     300.00    Deposit Teller   Ex. GGG at   043
08/10/15   Citi Checking 2498       $     604.35    Deposit Teller   Ex. GGG at   046
08/13/15   Citi Checking 2498       $   8,500.00    Deposit Teller   Ex. GGG at   046
08/13/15   Citi Checking 2498       $ 10,000.00     Deposit Teller   Ex. GGG at   046
08/17/15   Citi Checking 2498       $     778.00    Deposit Teller   Ex. GGG at   047
08/21/15   Citi Checking 2498       $   5,000.00    Deposit Teller   Ex. GGG at   048
09/08/15   Citi Checking 2498       $     400.00    Deposit Teller   Ex. GGG at   053
09/10/15   Citi Checking 2498       $   4,000.00    Deposit Teller   Ex. GGG at   053
09/11/15   Citi Checking 2498       $     500.00    Deposit Teller   Ex. GGG at   053
09/18/15   Citi Checking 2498       $   3,876.00    Deposit Teller   Ex. GGG at   055
09/24/15   Citi Checking 2498       $   3,000.00    Deposit Teller   Ex. GGG at   056
09/30/15   Citi Checking 2498       $ 10,000.00     Deposit Teller   Ex. GGG at   057
10/06/15   Citi Checking 2498       $       14.51   Deposit Teller   Ex. GGG at   061
10/09/15   Citi Checking 2498       $     500.00    Deposit Teller   Ex. GGG at   062
10/09/15   Citi Checking 2498       $     700.00    Deposit Teller   Ex. GGG at   062
10/29/15   Citi Checking 2498       $   9,000.00    Deposit Teller   Ex. GGG at   063
11/02/15   Citi Checking 2498       $ 22,000.00     Deposit Teller   Ex. GGG at   070
11/09/15   Citi Checking 2498       $ 11,000.00     Deposit Teller   Ex. GGG at   071
11/17/15   Citi Checking 2498       $     150.00    Deposit Teller   Ex. GGG at   073
11/18/15   Citi Checking 2498       $ 22,000.00     Deposit Teller   Ex. GGG at   073
11/23/15   Citi Checking 2498       $   2,000.00    Deposit Teller   Ex. GGG at   074
11/23/15   Citi Checking 2498       $   3,000.00    Deposit Teller   Ex. GGG at   074

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Date       Account                  Deposit         Note             Cite
12/01/15   Citi Checking 2498       $     760.00    Deposit Teller   Ex. GGG at   079
12/14/15   Citi Checking 2498       $     200.00    Deposit Teller   Ex. GGG at   082
12/14/15   Citi Checking 2498       $     350.36    Deposit Teller   Ex. GGG at   082
12/21/15   Citi Checking 2498       $       11.91   Deposit Teller   Ex. GGG at   083
12/24/15   Citi Checking 2498       $     400.00    Deposit Teller   Ex. GGG at   083
12/29/15   Citi Checking 2498       $     200.00    Deposit Teller   Ex. GGG at   084
12/29/15   Citi Checking 2498       $   1,700.00    Deposit Teller   Ex. GGG at   084
12/31/15   Citi Checking 2498       $   3,400.00    Deposit Teller   Ex. GGG at   084
01/28/16   Citi Checking 2498       $     500.00    Deposit Teller   Ex. GGG at   089
02/03/16   Citi Checking 2498       $     100.00    Deposit Teller   Ex. GGG at   093
02/03/16   Citi Checking 2498       $   3,400.00    Deposit Teller   Ex. GGG at   093
02/05/16   Citi Checking 2498       $   6,800.00    Deposit Teller   Ex. GGG at   093
02/05/16   Citi Checking 2498       $ 30,000.00     Deposit Teller   Ex. GGG at   093
02/10/16   Citi Checking 2498       $   2,500.00    Deposit Teller   Ex. GGG at   094
02/19/16   Citi Checking 2498       $   7,000.00    Deposit Teller   Ex. GGG at   096
02/22/16   Citi Checking 2498       $   1,900.00    Deposit Teller   Ex. GGG at   096
02/23/16   Citi Checking 2498       $ 10,000.00     Deposit Teller   Ex. GGG at   097
02/25/16   Citi Checking 2498       $   1,400.00    Deposit Teller   Ex. GGG at   098
03/09/16   Citi Checking 2498       $   9,000.00    Deposit Teller   Ex. GGG at   104
03/23/16   Citi Checking 2498       $     500.00    Deposit Teller   Ex. GGG at   106
03/25/16   Citi Checking 2498       $   3,000.00    Deposit Teller   Ex. GGG at   107
03/25/16   Citi Checking 2498       $   3,500.00    Deposit Teller   Ex. GGG at   107
03/29/16   Citi Checking 2498       $     563.00    Deposit Teller   Ex. GGG at   107
03/31/16   Citi Checking 2498       $     101.00    Deposit Teller   Ex. GGG at   108
04/01/16   Citi Checking 2498       $   1,400.00    Deposit Teller   Ex. GGG at   111
04/18/16   Citi Savings Plus 3541   $       30.00   Deposit Teller   Ex. GGG at   350
05/03/16   Citi Checking 2498       $       60.00   Deposit Teller   Ex. GGG at   116
05/03/16   Citi Checking 2498       $   1,450.00    Deposit Teller   Ex. GGG at   116
05/09/16   Citi Checking 2498       $     300.00    Deposit Teller   Ex. GGG at   116
05/10/16   Citi Checking 2498       $     200.00    Deposit Teller   Ex. GGG at   116
05/12/16   Citi Checking 2498       $     400.00    Deposit Teller   Ex. GGG at   116
05/18/16   Citi Checking 2498       $   1,240.00    Deposit Teller   Ex. GGG at   117
05/31/16   Citi Checking 2498       $     700.00    Deposit Teller   Ex. GGG at   117
06/01/16   Citi Checking 2498       $       80.00   Deposit Teller   Ex. GGG at   121
06/01/16   Citi Checking 2498       $   1,400.00    Deposit Teller   Ex. GGG at   121
06/03/16   Citi Checking 2498       $       20.00   Deposit Teller   Ex. GGG at   121
06/03/16   Citi Checking 2498       $     180.00    Deposit Teller   Ex. GGG at   121
06/13/16   Citi Checking 2498       $   1,093.38    Deposit Teller   Ex. GGG at   121
06/27/16   Citi Checking 2498       $       20.00   Deposit ATM      Ex. GGG at   122
06/27/16   Citi Checking 2498       $     371.36    Deposit Teller   Ex. GGG at   122
06/27/16   Citi Checking 2498       $     780.00    Deposit ATM      Ex. GGG at   122
07/05/16   Citi Checking 2498       $     216.47    Deposit Teller   Ex. GGG at   125
07/05/16   Citi Checking 2498       $ 13,000.00     Deposit Teller   Ex. GGG at   125
07/14/16   Citi Checking 2498       $ 155,600.00    Deposit Teller   Ex. GGG at   126
07/21/16   Citi Checking 2498       $     267.51    Deposit Teller   Ex. GGG at   128

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Date       Account                Deposit         Note             Cite
07/21/16   Citi Checking 2498     $   2,300.00    Deposit Teller   Ex. GGG at   128
07/21/16   Citi Checking 2498     $ 53,251.00     Deposit Teller   Ex. GGG at   128
08/09/16   Citi Checking 2498     $       27.00   Deposit Teller   Ex. GGG at   135
08/09/16   Citi Checking 2498     $ 750,000.00    Deposit Teller   Ex. GGG at   135
08/10/16   Citi Checking 2498     $        0.53   Deposit Teller   Ex. GGG at   135
08/11/16   Citi Checking 2498     $       11.25   Deposit Teller   Ex. GGG at   136
08/24/16   Citi Checking 2498     $   7,500.00    Deposit Teller   Ex. GGG at   140
08/26/16   Citi Checking 2498     $        7.08   Deposit Teller   Ex. GGG at   141
08/26/16   Citi Checking 2498     $   1,300.00    Deposit Teller   Ex. GGG at   141
08/31/16   Citi Checking 2498     $     400.00    Deposit Teller   Ex. GGG at   143
09/07/16   Citi Checking 2498     $     281.33    Deposit Teller   Ex. GGG at   148
09/16/16   Citi Checking 2498     $     188.02    Deposit Teller   Ex. GGG at   151
09/20/16   Citi Checking 2498     $ 10,000.00     Deposit Teller   Ex. GGG at   152
09/21/16   Citi Checking 2498     $       33.52   Deposit Teller   Ex. GGG at   152
09/26/16   Citi Checking 2498     $     400.00    Deposit Teller   Ex. GGG at   154
09/30/16   Citi Checking 2498     $     892.16    Deposit Teller   Ex. GGG at   155
10/11/16   Citi Checking 2498     $     135.99    Deposit Teller   Ex. GGG at   160
10/17/16   Citi Checking 2498     $   1,260.00    Deposit Teller   Ex. GGG at   162
10/19/16   Citi Checking 2498     $     800.00    Deposit ATM      Ex. GGG at   162
10/19/16   Citi Checking 2498     $   1,200.00    Deposit ATM      Ex. GGG at   162
10/19/16   Citi Checking 2498     $   1,350.00    Deposit ATM      Ex. GGG at   162
10/19/16   Citi Checking 2498     $   1,600.00    Deposit ATM      Ex. GGG at   162
10/20/16   Citi Checking 2498     $       64.10   Deposit Teller   Ex. GGG at   163
10/20/16   Citi Checking 2498     $   1,500.00    Deposit Teller   Ex. GGG at   163
10/20/16   Citi Checking 2498     $   5,150.03    Deposit Teller   Ex. GGG at   163
10/26/16   Citi Checking 2498     $   4,044.26    Deposit Teller   Ex. GGG at   164
10/31/16   Citi Checking 2498     $     250.00    Deposit Teller   Ex. GGG at   165
11/07/16   Citi Checking 2498     $   8,000.00    Deposit Teller   Ex. GGG at   169
11/14/16   Citi Checking 2498     $ 12,000.00     Deposit Teller   Ex. GGG at   170
11/22/16   Citi Checking 2498     $   2,000.00    Deposit ATM      Ex. GGG at   173
11/28/16   Citi Checking 2498     $     100.00    Deposit ATM      Ex. GGG at   174
11/28/16   Citi Checking 2498     $     168.00    Deposit Teller   Ex. GGG at   174
11/28/16   Citi Checking 2498     $   1,900.00    Deposit ATM      Ex. GGG at   174
11/30/16   Citi Checking 2498     $ 24,700.00     Deposit Teller   Ex. GGG at   175
12/08/16   Citi Checking 2498     $   1,500.00    Deposit ATM      Ex. GGG at   181
12/14/16   Citi Checking 2498     $   3,900.00    Deposit ATM      Ex. GGG at   183
12/19/16   Citi Checking 2498     $   5,000.00    Deposit Teller   Ex. GGG at   183
12/22/16   Citi Checking 2498     $   1,500.00    Deposit Teller   Ex. GGG at   184
12/23/16   Citi Checking 2498     $   1,300.00    Deposit Teller   Ex. GGG at   184
12/30/16   Citi Checking 2498     $   5,000.00    Deposit Teller   Ex. GGG at   186
01/10/17   Citi Checking 2498     $   5,700.00    Deposit Teller   Ex. GGG at   191
01/12/17   Citi Checking 2498     $       20.93   Deposit Teller   Ex. GGG at   191
01/12/17   Citi Checking 2498     $   1,000.00    Deposit Teller   Ex. GGG at   191
01/27/17   Citi Checking 2498     $   1,000.00    Deposit Teller   Ex. GGG at   193
02/02/17   Citi Checking 2498     $     662.59    Deposit Teller   Ex. GGG at   197

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Date       Account                    Deposit          Note             Cite
02/02/17   Citi Checking 2498         $ 11,000.00      Deposit Teller   Ex. GGG at   197
02/10/17   Citi Checking 2498         $     5,000.00   Deposit Teller   Ex. GGG at   199
02/21/17   Citi Checking 2498         $     1,000.00   Deposit Teller   Ex. GGG at   200
02/24/17   Citi Checking 2498         $       670.94   Deposit Teller   Ex. GGG at   201
02/27/17   Citi Checking 2498         $     1,000.00   Deposit Teller   Ex. GGG at   201
02/28/17   Citi Checking 2498         $       473.00   Deposit Teller   Ex. GGG at   202
03/01/17   Citi Checking 2498         $       468.00   Deposit Teller   Ex. GGG at   205
03/01/17   Citi Checking 2498         $     1,000.00   Deposit Teller   Ex. GGG at   205
03/09/17   Citi Checking 2498         $         6.01   Deposit Teller   Ex. GGG at   207
03/09/17   Citi Checking 2498         $       500.00   Deposit Teller   Ex. GGG at   207
03/27/17   Citi Checking 2498         $     8,000.00   Deposit Teller   Ex. GGG at   207
04/03/17   Citi Checking 2498         $     1,540.00   Deposit Teller   Ex. GGG at   211
04/06/17   Citi Checking 2498         $     7,000.00   Deposit Teller   Ex. GGG at   212
04/10/17   Citi Checking 2498         $     5,000.00   Deposit Teller   Ex. GGG at   212
04/10/17   Citi Checking 2498         $     5,000.00   Deposit Teller   Ex. GGG at   212
04/25/17   Citi Checking 2498         $     3,120.00   Deposit Teller   Ex. GGG at   216
05/01/17   Citi Checking 2498         $       456.68   Deposit Teller   Ex. GGG at   219
05/01/17   Citi Checking 2498         $     2,332.66   Deposit Teller   Ex. GGG at   219
05/01/17   Citi Checking 2498         $     3,533.00   Deposit Teller   Ex. GGG at   219
05/11/17   Citi Checking 2498         $       800.00   Deposit Teller   Ex. GGG at   222
05/24/17   Citi Checking 2498         $       560.00   Deposit Teller   Ex. GGG at   223
06/08/17   Citi Checking 2498         $        60.00   Deposit ATM      Ex. GGG at   228
06/08/17   Citi Checking 2498         $       160.00   Deposit ATM      Ex. GGG at   228
06/08/17   Citi Checking 2498         $     5,000.00   Deposit ATM      Ex. GGG at   228
                                Total $ 1,465,316.54




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